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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                    Case No. 8:20-cv-2184-MSS-SPF

  MELANIE MOORE

        Plaintiff,

  v.

  POOCHES OF LARGO, INC.
  d/b/a PETLAND &
  LUIS MARQUEZ,

       Defendants.
  _________________________________________/

       DEFENDANTS’ MOTION TO DISMISS AND/OR STRIKE THE
           COMPLAINT AS A SHAM, SHOTGUN PLEADING

        Pursuant to Rule 8, Rule 12(b)(6) and Local Rule 3.01,

  Defendants Pooches of Largo, Inc. & Luis Marquez hereby file their

  consolidated motion to dismiss and/or motion to strike the

  Complaint as a sham and shotgun pleading.

                                Introduction

        This alleged dispute arises from the Plaintiff’s short, three-week

  employment stint with Pooches of Largo, Inc. as a kennel technician.

  Apparently, the Plaintiff believed she was being hired for a full-time

  position salaried at $35,000. After three weeks of employment and

  two paychecks, she stopped working when she discovered that she

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  was actually a part-time employee at $8.45 an hour. Putting aside

  the incredible nature of the misunderstanding, and assuming,

  arguendo, she was correct, Ms. Moore was accidentally shorted

  approximately $1,441.53 for those three weeks. See D.E. 1-1, p. 19_.

  And, as Ms. Moore herself acknowledges because she attached

  settlement communications as an exhibit to her Complaint, the

  Defendants offered her $1,500.00. See D.E. 1-1, p. 40. Ms. Moore,

  through counsel, declined.

       Ms. Moore retained attorney Richard Cellar who proceeded to

  make a demand for $70,000.00, while simultaneously advising Ms.

  Moore that her claim was worth no more than a few thousand dollars.

  See D.E. 1-1, p. 36. How do we know this? Because Ms. Moore filed

  112 pages of exhibits, including otherwise privileged and confidential

  communications, in an effort to support her count for tortious

  interference. Ms. Moore claims that her former attorney, Richard

  Cellar, either conspired with the Defendant to harm her, and/or the

  Defendant tortiously interfered with her attorney-client relationship

  with Mr. Cellar. Mr. Cellar terminated his relationship with Ms.

  Moore – and now Ms. Moore blames the Defendant of being the

  unlawful cause of the end of that attorney-client relationship and her

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  inability to find a new attorney.           She also claims Mr. Cellar’s

  committed malpractice, see D.E. 1, ¶¶ 61, 208, 234, without naming

  him as a defendant.

        Each count, as pled, is painfully and obviously frivolous both

  legally and factually. For example, Mr. Cellar emailed Ms. Moore to

  tell her the statute of limitations to file is August 31, 2020. See D.E.

  1-1, p. 34. Ms. Moore filed on September 16, 2020. She is seeking

  compensation under the FLSA and Florida common law, including

  compensation for her schooling (tuition and books) and her ongoing

  mental health treatment. See D.E. 1, ¶¶ 250-267.

           The Complaint is an Improper Shotgun Pleading

        The Complaint is 85 pages. It has 11 counts, except there are

  two Count IIs and two Count Vs, so there are really 13 counts.

  There’s 112 pages of exhibits, including settlement communications,

  attorney-client privileged information, and random pages from the

  internet that relate to Ms. Moore’s scandalous and false claim that

  Petland is running a puppy mill.1



  1      Calling a pet store a “puppy mill” is highly pejorative. And more to the
  point, the Defendants have been statewide leaders in calling for stricter
  regulations concerning the sale of dogs to avoid and prevent the danger of puppy
  mills. Ms. Moore is barking up the wrong tree.
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       In July 2019, After Ms. Moore defamed Defendant Pooches on

  Facebook, Pooches commenced a defamation action against her in

  Miami-Dade Circuit Court.       Although she emailed to confirm she

  knew about the lawsuit, she was never served because, according to

  her, she is homeless. The defamation action was dismissed without

  prejudice for lack of service and failure to prosecute. That lawsuit,

  and emails and documents relating to that dismissed lawsuit, is

  attached to the Complaint here even though it has no bearing on this

  lawsuit.

       Each count adopts and incorporates all prior allegations,

  including the allegations of all prior counts. Each count incudes

  conclusory allegations of wrongdoing without any attachment to an

  actual cause of action. Each count appears to be pled against both

  Defendants, but all counts only refer to the “Defendant” in the

  singular without identifying which Defendant(s) is the subject(s) of

  the count.    Nowhere does the Complaint explain why Defendant

  Marqeuz – who is not alleged to have ever met or communicated with

  Ms. Moore in any way – is personally named as a defendant. If Ms.

  Moore has specific claims against Defendant Luis Marquez

  personally, then she needs to say so clearly and sufficiently.

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       Shotgun pleadings are subject to dismissal for violating Rule 8:

       Shotgun pleadings violate Rule 8, which requires "a short
       and plain statement of the claim showing that the pleader
       is entitled to relief," Fed. R. Civ. P. 8(a)(2), by "fail[ing] to
       one degree or another ... to give the defendants adequate
       notice of the claims against them and the grounds upon
       which each claim rests." Weiland v. Palm Beach Cty.
       Sheriff’s Office, 792 F.3d 1313, 1323 (11th Cir. 2015)
       (defining the four types of shotgun pleadings). Courts in
       the Eleventh Circuit have little tolerance for shotgun
       pleadings. See generally Davis v. Coca-Cola Bottling Co.
       Consol. , 516 F.3d 955, 979–80 & n.54 (11th Cir. 2008)
       (collecting numerous cases), abrogated on other grounds
       by Bell Atl. Corp. v. Twombly , 550 U.S. 544, 127 S.Ct.
       1955, 167 L.Ed.2d 929 (2007). They waste scarce judicial
       resources, "inexorably broaden[ ] the scope of discovery,"
       "wreak havoc on appellate court dockets," and
       "undermine[ ] the public’s respect for the courts." Id. at
       981–83 (detailing the "unacceptable consequences
       of shotgun pleading").

       A district court has the "inherent authority to control its
       docket and ensure the prompt resolution of lawsuits,"
       which includes the ability to dismiss a complaint
       on shotgun pleading grounds. Weiland , 792 F.3d at
       1320. In the special circumstance of non-merits
       dismissals on shotgun pleading grounds, we have
       required district courts to sua sponte allow a litigant one
       chance to remedy such deficiencies. See, e.g. , Wagner v.
       First Horizon Pharm. Corp. , 464 F.3d 1273, 1280 (11th
       Cir. 2006) ; Byrne v. Nezhat , 261 F.3d 1075, 1133 (11th
       Cir. 2001), abrogated on other grounds by Bridge v.
       Phoenix Bond & Indem. Co. , 553 U.S. 639, 128 S.Ct.
       2131, 170 L.Ed.2d 1012 (2008) ; Magluta v. Samples , 256
       F.3d 1282, 1284–85 (11th Cir. 2001) (per curiam). In these
       cases, even if the parties do not request it, the district
       court "should strike the complaint and instruct counsel to
       replead the case—if counsel could in good faith make the

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       representations     required      by Fed.     R.     Civ.   P.
       11(b)." Byrne , 261 F.3d at 1133 n.113 (alterations
       adopted) (quoting Cramer v. Florida , 117 F.3d 1258,
       1263 (11th Cir. 1997) ). This initial repleading order comes
       with an implicit "notion that if the plaintiff fails to comply
       with the court’s order—by filing a repleader with the same
       deficiency—the court should strike his pleading or,
       depending on the circumstances, dismiss his case and
       consider the imposition of monetary sanctions." Id. at
       1133.

  Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1294-95 (11th Cir.

  2018).

       Shotgun pleadings include complaints that: (1) contain multiple

  counts where each count adopts the allegations of all preceding

  counts; (2) do not re-allege all the proceeding counts but are replete

  with conclusory, vague, and immaterial facts not obviously

  connected to any particular cause of action; (3) do not separate each

  cause of action or claim for relief into separate counts; or (4) in a

  multi-defendant action, contain counts that present a claim for relief

  without specifying which defendants the claim is brought against.

  See Weiland, 792 F.3d at 1321-23 (citing different types of shotgun

  pleadings).

       Whatever leniency Ms. Moore is entitled to as a pro se litigant,

  Haines v. Kerner, 404 U.S. 519 (1972), her 200-page pleading is still


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  improper and unfair to the Court and the Defendants because “the

  pro se litigant must still meet minimal pleading standards.” Olsen v.

  Lane, 832 F. Supp. 1525, 1527 (M.D. Fla. 1993); see also Albra v.

  Advan, 490 F.3d 826, 829 (11th Cir. 2007) (“And although [courts]

  are to give liberal construction to the pleadings of pro se litigants,

  [courts] nevertheless have required them to conform to procedural

  rules.”); Loren v. Sasser, 309 F.3d 1296, 1304 (11th Cir.

  2002) (“Despite construction leniency afforded pro se litigants, we

  nevertheless have required them to conform to procedural rules.”).

  Nor does pro se leniency allow a court “to serve as de facto counsel

  for a party, or to rewrite an otherwise deficient pleading in order to

  sustain an action.” Campbell v. Air Jam. Ltd., 760 F.3d 1165, 1168-

  69 (11th Cir. 2014). “While a pro se litigant generally must be given

  at least one opportunity to amend his complaint, a district judge need

  not allow an amendment where amendment would be futile.”

  Cornelius v. Bank of Am., N.A., 585 F. App'x 996, 1000 (11th Cir.

  2014)

       Finally, “to survive a motion to dismiss, a complaint must

  contain sufficient factual matter, accepted as true, to state a claim to

  relief that is plausible on its face.” Jacob v. Mentor Worldwide, LLC,

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  389 F. Supp. 3d 1024, 1027 (M.D. Fla. 2019) (Scriven, J., granting

  dismissal). Not a single one of the counts is plausible – Ms. Moore is

  asking this Court to award her compensation for back pay, front pay,

  tuition, school books, the loss of her attorney, mental heath

  treatment, the loss of a storage shed and its contents, eviction, etc.,

  all premised upon what is at most her own mistake about what her

  rate of pay would be during her three-weeks of employment.

                             Each Count Fails

                        Count I – FLSA Retaliation

       Count I alleges that the Plaintiff was retaliated against in

  violation of the FLSA. But the Complaint doesn’t specify which

  Defendant is the subject of the claim – paragraph 133 alleges the

  Plaintiff was “employed for the Defendant” at “his” Largo store. This

  allegation, using the word “his,” suggests the count is pled against

  Defendant Marquez – but there is no allegation that Defendant

  Marquez knew about the alleged wage complaint or that he took any

  action, personally, against the Plaintiff. Other allegations in Count I

  appear to be directed at the corporate Defendant. But Count I is so

  vague that it is impossible for the Defendants to defend against. This

  error permeates the Complaint.

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       Count I also fails to state a cause of action for FLSA retaliation.

  “The FLSA protects persons against retaliation for asserting their

  rights under the statute. A prima facie case of FLSA retaliation

  requires a demonstration by the plaintiff of the following: (1) she

  engaged in activity protected under [the] act…” Wolf v. Coca-Cola Co.,

  200 F.3d 1337, 1342-43 (11th Cir. 2000). Ms. Moore correctly alleges

  she was paid $8.45 per hour for 24 hours. D.E. 1, ¶ 22; D.E. 1-1, p.

  10. She was paid above minimum wage (which was $8.25 per hour

  in 2018) and did not work in excess of 40 hours per week in any given

  week. She attached her accurate paystubs to the Complaint. D.E.

  1-1, pp. 24-25.

       The entire “complaint” about a wage discrepancy is found at

  D.E. 1-1, pp. 11-14. There is no additional communication between

  the parties about the issue, and thus any discovery would be

  unproductive. It is a text message exchange between Ms. Moore and

  a Pooches administrator, Allison. Ms. Moore complains to Allison that

  she was paid $8.45 an hour when she was supposed to be paid

  $35,000 annually based upon an advertisement she saw. She then

  accuses Petland of “bait and switch” and of being “a total scam.”

  Allison responds by suggesting Ms. Moore call the corporate office to

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  figure out the discrepancy. Ms. Moore responds instead that she will

  get an attorney. Ms. Moore is then terminated.

        Ms. Moore, at best, alleges an internal complaint about a

  discrepancy between the rate of pay she was expecting and the rate

  of pay she received. This may constitute a breach of contract, or it

  may even constitute fraud (all of which is strongly denied by the

  Defendants) – but it does not constitute a complaint that her rights

  under the FLSA were violated. The anti-retaliation provision of the

  Act covers an “employee [who] has filed any complaint or instituted

  or caused to be instituted any proceeding under or related to this

  chapter, or has testified or is about to testify in any such proceeding,

  or has served or is about to serve on an industry committee.” 29

  U.S.C. § 215(a)(3). She did not complain to the company that she

  was denied minimum wage or overtime, and thus as a matter of law

  she did not engage in protected activity.         The mere fact that she

  disputed her otherwise lawful rate of pay is interesting but irrelevant

  to the Act.

          Count II – Retaliation Pursuant to Fla. Stat., § 448.102

        Count II is an attempt to use Florida’s Whistleblower Act to

  create a minimum wage claim where there is none. She clams she

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  “engaged in a statutorily protected activity when she objected to

  Defendant’s failure to pay her at the corresponding wage in breach of

  the employment contract.” D.E. 1, ¶ 140. Putting aside the absence

  of an employment contract, Ms. Moore alleges that when she put the

  Defendant on notice of a potential breach of contract, she was

  engaging in statutorily protected activity. Ms. Moore is wrong.

        “Pursuant     to    the      statute   [§   448.101-202],        the    activity

  complained of must be in violation of a ‘law, rule, or regulation,’

  which is defined as ‘any statute or ordinance or any rule or regulation

  adopted pursuant to any federal, state, or local statute or ordinance

  applicable to the employer and pertaining to the business.’” Pinder v.

  Bahamasair Holdings Ltd., Inc., 661 F. Supp. 2d 1348, 1353 (S.D.

  Fla. 2009) (emphasis added). “The last phrase of the definition

  indicates that the conduct complained of must be in violation of a

  law, rule or regulation that is somehow more specifically applicable

  to the business, as opposed to the public at large.” Id.

        Ms.   Moore        alleges     “she    complained        about    the     wage

  discrepancy.” ¶ 142. Complaining about a discrepancy between a job

  advertisement and a paystub is not protected activity under Florida’s

  Whistleblower Act.

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                   Second Count II – Breach of Contract

        Ms. Moore’s Complaint has two Count IIs. For simplicity, the

  Defendants refer to this second Count II as the Second Count II. Ms.

  Moore alleges that Petland’s unauthenticated job posting on

  Indeed.com constitutes an “offer” to contract and that becoming

  employed constitutes an “acceptance.”          See D.E. 1-1, p. 2-3.         In

  Florida, “the duty of construing a contract is that of the court and

  not the jury.” Russell v. Handshoe, 176 So. 2d 909, 912 (Fla. 1st

  DCA 1965).      Employment is presumed at-will, absent a contract

  specifically stating otherwise. Id. at 713.

        In theory, Ms. Moore could claim – pursuant only to Florida

  common law – unpaid wages for the three weeks she worked. I.e.,

  the difference between the rate of pay she thought was agreed upon

  and the rate of pay she was actually paid. This would be a $1,400

  small claims action, but Ms. Moore would still have to allege and

  prove that she and her employer agreed on her rate of pay. Claiming

  she saw a job posting suggesting the rate of pay was $35,000

  annually is not an agreed upon rate of pay.




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        Further complicating the breach of contract count is her desired

  remedy. Ms. Moore is improperly seeking consequential and punitive

  damages for the alleged breach of contract:

        156. Defendant made the contract in bad faith and did, in
        fact, subject Plaintiff to undue harm. Defendant caused
        Plaintiff economic harm, psychological harm, physical
        harm, and property loss. But for the breach, Plaintiff
        would have had the wages she earned with which to pay
        her housing expenses. But for the breach, Plaintiff would
        not have had to put her belongings into a storage unit
        when she could not pay her housing costs. But for the
        breach, Plaintiff would not have subsequently lost
        everything she owned when she fell two months behind in
        storage rent. Moreover, Plaintiff would not have been
        forced to occupy a residence without authorization
        because she did not have her wages with which to pay her
        housing costs. But for the breach, Plaintiff would not have
        been subjected to the embarrassment and humiliation of
        being removed from her residence of several years when
        the police served an unlawful detainer just three weeks
        after unlawful termination and forcing her into
        homelessness. Furthermore, the unlawful detainer is part
        of Plaintiff's permanent record and caused damage to
        Plaintiff's personal reputation. The unlawful detainer on
        her record will also cause Plaintiff difficulty when
        attempting to obtain a residence.

  See D.E. 1, ¶ 156.

        “A plaintiff is not entitled to recover compensatory damages in

  excess of the amount which represents the loss actually inflicted by

  the action of the defendant.” Deauville Hotel Mgmt., LLC v. Ward, 219

  So. 3d 949, 954 (Fla. 3d DCA 2017). Ms. Moore’s only measure of

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  damages, assuming she has a valid cause of action for breach of

  contract, is the difference between the amount the Defendants were

  contractually obligated to pay and the amount it actually paid. The

  difference is $1,441.53, and no more.

           Count III – Minimum Wage Violation under the FLSA

        Ms. Moore’s minimum wage claim fails as a matter of law

  because she admits she was paid $8.45 per hour for all hours

  worked. (At the time, minimum wage in Florida was $8.25 per hour).

  In paragraph 161 of the Complaint, Ms. Moore alleges she was paid

  a total of $184 working 85 hours over a three-week period. But she

  filed her two paystubs as attachments, see D.E. 1-1, pp. 24-25, both

  of which of part of the pleading for all purposes. See Fed. R. Civ. P.

  10(c); Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir.

  2000).

        Ms. Moore’s first paystub, D.E. 1-1, p. 24, covers her first week

  of employment. She worked 24.27 hours at $8.45 per hour. Her net

  pay was $205.08.2 (She claims she was only paid $184 for all three

  weeks, which appears to be a reference to the $183.12 net she


  2     This is the live check she received on August 31, 2018, the same day she
  was terminated. See D.E. 1, ¶ 165.
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  received after taxes on the first of her two paystubs). The second

  paystub, D.E. 1-1, p. 25, covers her second and third (and final)

  weeks. She was paid for 44.07 hours (over two weeks, not a single

  week) at $8.45 per hour.3

        Her paystubs are correct and are dispositive. “Where there is

  conflict between allegations in a pleading and exhibits thereto, it is

  well settled that the exhibits control.” Friedman v. Market Street

  Mortg. Corp., 520 F.3d 1289, 1295 n.6 (11th Cir. 2008).

        Second, Ms. Moore’s lawsuit was filed late.           Her last day of

  employment was August 31, 2018, see D.E. 1, ¶ 165, making August

  31, 2020 the end of the presumptive two-year statute of limitations

  under the FLSA. Ms. Moore’s former attorney, Richard Cellar,

  specifically advised her of this deadline via email. See D.E. 1-1, p.

  133, 161, 163. She nevertheless sued on September 16, 2020, 16

  days too late.

        Nor does Ms. Moore allege any plausible willful violation of the

  FLSA.     “A willful violation may be found when the employer

  disregarded the very possibility that it was violating the statute.”


  3     This was paid via direct deposit on September 14, 2018. See D.E. 1-1, p.
  25.
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  Allen v. Bd. of Pub. Educ., 495 F.3d 1306, 1323 (11th Cir. 2007). “The

  three-year statute of limitations may apply even when the employer

  did not knowingly violate the FLSA; rather, it may apply when it

  simply disregarded the possibility that it might be violating the

  FLSA.” Id. “If an employer acts unreasonably but not recklessly in

  determining its legal obligation under the FLSA, then its actions

  should not be considered willful and the two-year statute of

  limitations should be applied.” Id. Ms. Moore was paid in excess of

  the minimum wage in 2018 and she never worked close to (much less

  above) 40 hours per week in any given workweek.                 There is no

  possibility of a viable FLSA claim.       Accordingly, there can be no

  possibility of a “willful” violation of the Act when there is no violation

  of the Act. Ms. Moore has pled nothing that would entitle her to take

  advantage of any extended, three-year statute of limitation.

      Count IV – Wage Theft Pursuant to the Pinellas County Code

        Ms. Moore’s claim under the Pinellas County Code fails because

  there is no private cause of action authorizing her to file a lawsuit

  and because she failed to comply with the procedural prerequisites.

  First, the County Code expressly disallows simultaneous claims

  under both the County Code and federal or state law. See Section

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  70-308(f)(1)(a). “If during the pendency of a wage theft violation

  employee but prior to the issuance of a final order by a special

  magistrate, an employee brings a private action in their own right,

  whether under state law, federal law, or both, in any state or federal

  court to seek unpaid wages based upon the same facts and

  allegations as the employee's complaint to the county, or affirmatively

  or by consent participates in any such litigation, that employee's

  complaint of wage theft shall be deemed withdrawn with respect to

  any employer named as a defendant in such court action.” Id. Even

  if Ms. Moore complied with the Code, her claim would automatically

  be deemed “withdrawn” because she filed an identical claim under

  the FLSA and state law arising from the same alleged unpaid wages.

        Second, wage theft claims filed under the Pinellas Code have to

  be filed with the county within one year. Id. at § 70-307(a)(3). Ms.

  Moore does not allege she filed with the county, timely or otherwise.

  The face of the Complaint demonstrates that any local county code

  claim is time-barred.

                Count V – Fraudulent Misrepresentation Count I

        Count V (one of two fraudulent misrepresentation claims)

  alleges that the Defendant’s job advertisement was fraudulent. Ms.

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  Moore claims that the job position and rate of pay was not just

  incorrect, but was fraudulent. Presumably Ms. Moore is suggesting

  that she was fraudulently induced into contracting with Petland, but

  she is not expressly saying so. Fraud is not actionable when the

  parties are in privity unless there is an “independent act” from the

  act that breached the contract. See Tiara Condo. Ass’n, Inc. v. Marsh,

  110 So. 3d 399, 402 (Fla. 2013). The crux of the fraud claim, at least

  as far as can be discerned, is that the Defendant underpaid the

  Plaintiff in violation of a contractual agreement. This is a breach of

  contract claim, not an independent fraud claim.

            Count V – Fraudulent Misrepresentation Count II

        The second fraudulent misrepresentation claim asserts that the

  Defendant’s       website       (www.PetlandFlorida.com)             “contains

  representations made to induce the public into conducting business

  with Petland stores.” D.E. 1, ¶ 183.          A former employee has no

  standing to assert a claim for fraud on the employer’s consumers. “To

  demonstrate Article III standing, a plaintiff must allege that (1) he

  has suffered an actual or threatened injury, (2) the injury is fairly

  traceable to the challenged conduct of the defendant, and (3) the

  injury is likely to be redressed by a favorable ruling.” Phoenix v.

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  McDonald's, 489 F.3d 1156, 1161 (11th Cir. 2007). A false statement

  to potential consumers is not a false statement to an employee.

                       Count VI – Promissory Fraud

        There is no discrete tort in Florida known as “promissory fraud.”

  Count VI is frivolous for the same reasons as the other fraud counts.

             Count VII – Tortious Interference with a Contract

        The tortious interference count is just sad. Ms. Moore alleges

  that her attorney-client relationship with her attorney, Richard

  Cellar, was tortiously interfered with by the Defendants because the

  Defendants somehow refused to settle or negotiate with her. She

  claims that Richard Cellar “was compensated in some other way.”

  See D.E. 1, ¶ 205. The not very subtle but entirely false insinuation

  is that her attorney Richard Cellar was bribed by the Defendants to

  drop her as a client. Ms. Moore filed her emails with attorney Richard

  Cellar. He dropped her as a client because he didn’t believe she had

  much of a case. See D.E. 1-1, pp. 34 & 35. The Defendants simply

  weren’t going to respond to Ms. Moore or Richard Cellar’s baseless

  claims or the unbelievable demand for $70,000.

        If Ms. Moore has a problem with Mr. Cellar, she is free to take

  it up with him.

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                       Count VIII – Abuse of Process

        It is a matter of public record that the Defendant (Pooches of

  Largo) filed a defamation complaint against Ms. Moore in Miami-Dade

  Circuit Court. The crux of the complaint is that Ms. Moore took to

  Facebook to defame Petland and this particular Petland store – she

  accused the company of running a puppy-mill (which is a four-letter

  word in the pet industry) and posted horrible pictures that weren’t

  taken at the company’s store.            Her defamation campaign was

  undertaken after Ms. Moore was dropped as a client by Mr. Cellar.

  The defamation lawsuit was never served because Ms. Moore was

  homeless. The process server never found her. The case was recently

  dismissed without prejudice for failure to prosecute. (Ms. Moore

  attached the first two pages of that complaint as D.E 1-1, pp. 47-48.).

        Ms. Moore alleges – rather vaguely – that the defamation lawsuit

  was an abuse of process. But “the mere filing of a complaint and

  having process served is not enough to show abuse of process.” S &

  I Investments v. Payless Flea Market, Inc., 36 So. 3d 909, 917 (Fla.

  4th DCA 2010). “The plaintiff must prove improper use of process

  after it issues.” Id. (emphasis added). As a matter of law, filing a

  lawsuit can never be an abuse of process.

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                       Count IX – Defamation Per Se

        Ms. Moore complains that the lawsuit filed against her in

  Miami-Dade Circuit Court was defamatory. The Miami-Dade lawsuit

  occurred, rather obviously, during a judicial proceeding, and is thus

  entitled to absolute immunity. See Levin, Middlebrooks v. U.S. Fire

  Ins. Co., 639 So. 2d 606, 608 (Fla. 1994). There is no allegation of

  defamation outside the context of a judicial proceeding.

              Count X – Civil Conspiracy (42 U.S.C. § 1985)

        Ms. Moore alleges upon information and belief that the

  Defendants “formed an unlawful agreement with Attorney Cellar to

  deprive Plaintiff of access to the courts.” D.E. 1, ¶ 233. As indicated

  in her own emails, Mr. Cellar wisely dropped Ms. Moore as a client

  because he didn’t see much of a case. D.E. 1-1, pp. 34 & 35. The

  crux of this count is that her former attorney was terrible. If Ms.

  Moore has a problem with Mr. Cellar, she is free to take it up with

  him. She is suing the Defendant for having the audacity of defending

  itself from a frivolous lawsuit – this she cannot do.

        To the extent she believes she has been denied access to the

  courts, she may want to consider that she is making this allegation

  in a complaint filed in federal district court. You can’t go to court on

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  a claim and then assert that you can’t go to court to make the very

  claim you made in the complaint.

          Count VI – Intentional Infliction of Emotional Distress

        Ms. Moore complains of “extreme and outrageous conduct” but

  never identifies the extreme and outrageous conduct. What did the

  Defendants do that is so outrageous?

        “A claim of intentional infliction of emotional distress under

  Florida law requires a plaintiff to prove: (1) The wrongdoer's conduct

  was intentional or reckless, that is, he intended his behavior and he

  knew or should have known that emotional distress would likely

  result; (2) the conduct was outrageous, that is, it went beyond all

  bounds of decency, and is regarded as odious and utterly intolerable

  in a civilized community; (3) the conduct caused emotional distress;

  and (4) the emotional distress was severe.” Malverty v. Equifax Info.

  Servs., 407 F. Supp. 3d 1257, 1263 (M.D. Fla. 2019) (granting motion

  to dismiss). “In evaluating whether conduct is outrageous, "the

  subjective response of the person who is the target of the actor's

  conduct does not control ... Rather, the court must evaluate the

  conduct as objectively as is possible to determine whether it is

  atrocious, and utterly intolerable in a civilized community.” Id.

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  “Whether conduct is outrageous enough to support a claim of

  intentional infliction of emotional distress is a question of law, not a

  question of fact.” Id.     Nothing Ms. Moore alleges comes close to

  objectively stating a cause of action for intentional infliction of

  emotional distress.

                               Prayer for Relief

        Ms. Moore’s five-page prayer for relief seeks damages that

  includes tuition reimbursement, self-storage fees, loss of personal

  items, loss of her residence, loss of consortium and mental health

  counselling. Whatever obvious issues have occurred in Ms. Moore’s

  life, they cannot be fixed in any way in this lawsuit.

                                 Conclusion

        For the reasons stated above, Defendants request that the

  Complaint be stricken in its entirety with prejudice. All discovery

  and other matters should be stayed pending resolution of the obvious

  pleading deficiencies.


                              /s/ Matthew Sarelson
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